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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

     ARM LTD.,                                     )
                                                   )
                         Plaintiff,                )
                                                   )
          v.                                       )    C.A. No. 22-1146 (MN)
                                                   )
     QUALCOMM INC., QUALCOMM                       )
     TECHNOLOGIES, INC. and NUVIA, INC.,           )
                                                   )
                         Defendants.               )

                                      MEMORANDUM ORDER

         At Wilmington, this 10th day of December 2024;

         Before the Court are the parties’ motions to exclude certain expert testimony under

 Rule 702 of the Federal Rules of Evidence and the standard set forth in Daubert v. Merrell Dow

 Pharms., Inc., 509 U.S. 579, 597 (1993). Plaintiff ARM, Ltd. (“Plaintiff” or “ARM”) moves to

 exclude portions of the testimony of Defendants’ expert Dr. Murali Annavaram. (D.I. 378).

 Defendants Qualcomm Inc., Qualcomm Technologies, Inc., and Nuvia, Inc. (“Defendants”), move

 to exclude portions of the testimony of ARM’s experts Dr. Shuo-Wei (Mike) Chen and Dr. Robert

 Colwell. (D.I. 380). For the reasons set forth below, the Court DENIES the motions. 1



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         Each party submitted additional Daubert challenges that have since been mooted. ARM
         sought to exclude expert testimony from Dr. Patrick Kennedy, Dr. Joel Steckel, and
         Professor John Coates, and Defendants sought to exclude testimony from Todd
         Schoettelkotte, Dr. Ravi Dhar, and Professor Guhan Subramanian. (D.I. 375, 376, 377,
         380). At the October 30, 2024 hearing, ARM informed the Court that it is dropping its
         trademark claims, and, therefore, testimony from Dr. Dhar and Dr. Steckel will not be
         presented at trial. (D.I. 513 at 33:15-23; see also D.I. 545 ¶ 1). The Court therefore denies
         the motions to exclude those experts as moot. Similarly, the parties agreed at the
         October 30 hearing that they will not call Professor Subramanian or Professor Coates at
         trial. (D.I. 513 at 32:15-33:5). Those challenges are likewise denied as moot. (Id.).
         Finally, at the November 20, 2024 pretrial conference, the parties informed the Court that
         they will not call experts Schoettelkotte and Kennedy at trial. (D.I. 530 at 6:8-18). Those
         motions are also denied as moot, with leave to renew if needed. (Id. at 6:19-24).
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 I.     LEGAL STANDARD

        Rule 702 of the Federal Rules of Evidence requires the Court to take up the “gatekeeping

 role . . . of ensuring that an expert’s testimony both rests on a reliable foundation and is relevant

 to the task at hand.” Daubert, 509 U.S. at 597. Any expert evidence sought to be admitted must

 “help the trier of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid.

 702(a). There are “a trilogy of restrictions on expert testimony: qualification, reliability and

 fit.” Schneider ex rel. Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003) (citation omitted). In

 other words, expert evidence is admissible only if “the testimony is based on sufficient facts or

 data,” “is the product of reliable principles and methods,” and “the expert has reliably applied the

 principles and methods to the facts of the case.” Fed. R. Evid. 702(b)-(d). The proponent of expert

 evidence bears the burden of demonstrating its admissibility by a preponderance of

 evidence. EMC Corp. v. Pure Storage, Inc., 154 F. Supp. 3d 81, 92 (D. Del. 2016); Daubert,

 509 U.S. at 592 n.10.

        To be qualified under Daubert, an expert must “possess specialized expertise.” Schneider,

 320 F.3d at 404. This is a liberal requirement – “a broad range of knowledge, skills, and training

 qualify an expert.” In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 741 (3d Cir. 1994) (citation

 omitted). For the expert’s evidence to “fit” the case, it “must be relevant for the purposes of the

 case and must assist the trier of fact.” Schneider, 320 F.3d at 404. And reliability “is based on

 ‘good grounds,’ i.e., if it is based on the methods and procedures of science.” Paoli, 35 F.3d at

 744. “Good grounds” cannot be “subjective belief or speculation,” but also need not be “the best

 methodology or unassailable research.” In re TMI Litig., 193 F.3d 613, 670 (3d Cir. 1999).

 “Rather, the test is whether the particular opinion is based on valid reasoning and reliable

 methodology.” Id. at 665 (citation omitted). “The focus, of course, must be solely on principles

 and methodology, not on the conclusions that they generate.” Daubert, 509 U.S. at 595. Parties


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 offering expert evidence “do not have to demonstrate . . . that the assessments of their experts are

 correct, they only have to demonstrate by a preponderance of evidence that their opinions are

 reliable.” TMI, 193 F.3d at 665 (quoting Paoli, 35 F.3d at 744).

        “A judge frequently should find an expert’s methodology helpful even when the judge

 thinks that the expert’s technique has flaws sufficient to render the conclusions inaccurate.” Paoli,

 35 F.3d at 744-45. “Hearing the expert’s testimony and assessing its flaws [can be] an important

 part of assessing what conclusion was correct.” Id. at 745.

 II.    DISCUSSION

        A.      ARM’s Motion

                1.      Dr. Murali Annavaram

        ARM moves to exclude three categories of opinions offered by Dr. Annavaram in his

 opening and reply reports that, according to ARM, constitute legal opinions. (D.I. 379 at 6). ARM

 specifically challenges Dr. Annavaram’s opinions on: (1) what constitutes an “Architecture

 Compliant Core under the Nuvia ALA”; (2) whether certain of Defendants’ actions were

 undertaken “under” the contracts at issue; and (3) how Defendants “swapped out” ARM

 technology downloaded under the Nuvia ALA with ARM technology downloaded under the

 Qualcomm ALA. (Id.).

        The resolution of each of these challenges is the same. Dr. Annavaram’s opinions are not

 legal interpretations, they merely provide analysis of the technologies at issue and apply

 Dr. Annavaram’s technical expertise to the facts. Contrary to ARM’s contentions, Dr. Annavaram

 “did not offer opinions as to the scope and meaning of the Agreement and its terms.” Roche

 Diagnostics Operations, Inc. v. Abbott Diabetes Care, 756 F. Supp. 2d 598, 606 (D. Del. 2010),

 aff’d sub nom. Roche Diagnostics Operations, Inc. v. Lifescan Inc., 452 F. App’x 989 (Fed. Cir.

 2012). Instead, “he applied the definitions from the Agreement.” Id. As Defendants rightly point


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 out, the three challenged categories of opinions here all concern fact questions central to the case.

 (D.I. 426 at 3).

         First, Dr. Annavaram’s opinion that “No Core was an Architecture Compliant Core Under

 the Nuvia ALA” involves the application of his technical expertise to the contract language as it

 was described to him by counsel. (See, e.g., D.I. 388, Ex. 7 ¶ 219 (explaining that “I have been

 informed” of certain “requirement[s]” under the ALA)). ARM’s own expert, Dr. Colwell, does

 the same thing. (See D.I. 383, Ex. 1 ¶¶ 84, 86, 95, 131).

         Similarly, Dr. Annavaram’s use of the terms “under the Nuvia ALA” or “under the

 Qualcomm ALA” are not legal conclusions. His reports use these phrases in the chronological

 sense, referring to the time periods during which certain actions took place. And, as with his other

 challenged opinions, Dr. Annavaram bases these on his “understanding” from talking to counsel,

 other experts, or company personnel. (See, e.g., D.I. 388, Ex. 7 ¶ 91). As before, many of these

 challenged opinions come from Dr. Annavaram’s rebuttal report, which respond to Dr. Colwell,

 who opines on the same issues ARM seeks to exclude. (See id. ¶¶ 233-52 (responding to D.I. 383,

 Ex. 1 ¶¶ 84, 95, 110-13, 153)). Accordingly, Dr. Annavaram’s opinions are not impermissible

 legal conclusions.

         Finally, ARM seeks to exclude Dr. Annavaram’s reply report opinions on the “decoder

 file,” (D.I. 388 Ex. 12 ¶¶ 19-35), as untimely on the basis that they were not disclosed in his

 opening report. (D.I. 379 at 11). Defendants respond that the challenged opinions are offered in

 direct response to Dr. Colwell’s rebuttal report, (D.I. 427, Ex. 2 ¶¶ 26-34). (D.I. 426 at 6-7). ARM

 does not dispute this in its reply, instead arguing that there is no legal basis for it. (D.I. 457 at 2-

 3). However, a “reply expert report may cite to new evidence and data, so long as [it] is ‘offered

 to directly contradict or rebut the opposing party’s expert.’” Cirba Inc. v. VMware, Inc., No. 19-




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 742 (GBW), 2023 WL 6799267, at *5 (D. Del. Mar. 30, 2023) (quoting Pers. Audio, LLC v. Google

 LLC, No. 17-1751 (CFC), 2021 WL 765763, at *4 (D. Del. Feb. 19, 2021)). Thus, because

 Dr. Annavaram’s opinions on the decoder file are directly responsive to Dr. Colwell’s rebuttal

 report, the Court finds that they are timely, and there is no need to evaluate the Pennypack factors.

        ARM’s motion to exclude Dr. Annavaram’s opinions is, therefore, denied.

        B.      Defendants’ Motions

                1.      Dr. Shuo-Wei (Mike) Chen

        Defendants seek to exclude testimony from Dr. Chen, who offers opinions on Defendants’

 RTL code for the purpose of ascertaining whether that technology originated from ARM’s code,

 and, therefore, constituted a breach of the Nuvia ALA. (D.I. 381 at 14). First, Defendants

 challenge Dr. Chen’s quantitative opinions about the similarity of the pre- and post-acquisition

 technologies as irrelevant and unreliable. (Id.). As already discussed, however, squarely at issue

 here are the fact questions pertaining to which products and technologies were developed by which

 Defendants under which contract during which time period. Accordingly, Dr. Chen’s side-by-side

 analysis of the products is relevant and would be helpful to the trier of fact. Fed. R. Evid. 702(a).

 Defendants’ “fit” argument fails.

        Additionally, Defendants question Dr. Chen’s methodology, contending that he arbitrarily

 reviewed certain parts of the code (and others not at all), and otherwise lacked knowledge of how

 it compares across codebases. (D.I. 381 at 16). Their challenges, however, go to the strength of

 his conclusions rather than the scientific quality of his approach. See Daubert, 509 U.S. at 595.

 Dr. Chen lays out a clear mathematical process by which he conducted his analysis. Defendants

 may quibble with his decision to consider certain points of fact evidence and not others, but that

 is not sufficient to render his analysis unreliable. See TMI, 193 F.3d at 665.




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        Lastly, Defendants seek to strike what they call Dr. Chen’s “qualitative opinions,” on the

 basis that they rely upon a flawed methodology. (D.I. 381 at 18). But what Defendants really

 challenge are the underlying documents Chen relies on. Specifically, Defendants say Dr. Chen

 relies on outdated versions of the ARM Arm and Phoenix Reference Manual. Id. Once again, that

 is a question of the strength of Dr. Chen’s conclusions, not his methodology, and, therefore, is

 properly the subject of cross-examination, not a Daubert exclusion. See AVM Techs., LLC v. Intel

 Corp., No. 15-33 (RGA), 2017 WL 1536453, at *2 (D. Del. Apr. 27, 2017). Accordingly, the

 Court will deny Defendants’ motions with respect to Dr. Chen.

                2.      Dr. Robert Colwell

        Defendants also move to exclude certain opinions from Dr. Robert Colwell, who, like

 Dr. Chen, opines on whether Defendants’ products incorporate ARM’s technology. Defendants

 maintain that his opinions: (1) are exclusively based on Dr. Chen’s analysis, which is unreliable;

 (2) misapply the terms of the contracts at issue; and (3) exceed the scope of the testimony to which

 they respond, to the extent they are offered in rebuttal. (D.I. 381 at 19-20).

        In the preceding section, the Court found that Dr. Chen’s opinions are reliable.

 Accordingly, Defendants’ challenge to Dr. Colwell’s opinions fails on that basis. Defendants’

 next argument, that Colwell misapplies the terms of the Nuvia ALA, essentially mirrors ARM’s

 unsuccessful challenge to Dr. Annavaram’s opinions on the same basis. As with those earlier

 challenges, whether the technology at issue here qualifies under each of the relevant contract terms

 is a fact issue for which each expert has been called to provide technical analysis. Defendants’

 contention that Dr. Colwell’s technical opinions are improper is one of the fact questions that must

 ultimately go to the trier of fact.     In any event, Dr. Colwell explains that he gleans his

 understanding of the contract definitions from the agreements themselves, for example, the Annex




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 to the Nuvia ALA. (D.I. 382, Ex. 25 ¶¶ 75-9, 117-22). Thus, Dr. Colwell’s opinions are not “made

 up,” and the Court declines to strike them. (D.I. 381 at 20).

        Finally, Defendants seek to exclude Dr. Colwell’s Counterclaim Rebuttal Report on the

 basis that it exceeds the scope of the opinions from Dr. Annavaram to which Dr. Colwell responds.

 (D.I. 381 at 19-20). The Court finds that Dr. Colwell’s opinions are responsive to Dr. Annavaram’s

 conclusions, however, (see, e.g., D.I. 386, Ex. 29 ¶ 7), and will deny the motion to exclude them.

 See Cirba, 2023 WL 6799267, at *5.

 III.   CONCLUSION

        THEREFORE, for the reasons set forth above, IT IS HEREBY ORDERED that:

        1.      Plaintiff ARM’s Motion to Exclude Certain Expert Opinions and Testimony of

 John Coates (D.I. 375) is DENIED AS MOOT.

        2.      Plaintiff ARM’s Motion to Exclude Certain Expert Opinions and Testimony of Joel

 Steckel (D.I. 376) is DENIED AS MOOT.

        3.      Plaintiff ARM’s Motion to Exclude Certain Expert Opinions and Testimony of

 Patrick Kennedy (D.I. 377) is DENIED AS MOOT.

        4.      Plaintiff ARM’s Motion to Exclude and Strike Certain Expert Opinions and

 Testimony of Murali Annavaram (D.I. 378) is DENIED.

        5.      Defendants’ Motion to Exclude ARM’s Expert Opinions (D.I. 380) is DENIED as

 to Dr. Shuo-Wei (Mike) Chen and Dr. Robert Caldwell and DENIED AS MOOT as to W. Todd

 Schoettelkotte, Guhan Subramanian, and Ravi Dhar.



                                                      The Honorable Maryellen Noreika
                                                      United States District Judge




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